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 8    Interim Class Counsel

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                              IN THE UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                     OAKLAND DIVISION

13    IN RE GOOGLE RTB CONSUMER                      CASE NO. 4:21-CV-02155-YGR-VKD
      PRIVACY LITIGATION
14                                                   DECLARATION OF ELIZABETH C.
                                                     PRITZKER IN SUPPORT OF
15                                                   PLAINTIFFS’ MOTION FOR LEAVE
      This document applies to all actions.          TO FILE A RESPONSE TO
16
                                                     DEFENDANT GOOGLE LLC’S
17                                                   EVIDENTIARY OBJECTIONS (ECF
                                                     NO. 628)
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                                                            Case No. 4:21-cv-02155-YGR-VKD
                PRITZKER DECL. ISO PLFS.’ ADMIN. MOTION FOR LEAVE TO FILE A RESPONSE TO
                                                      GOOGLE’S EVIDENTIARY OBJECTIONS
     Case 4:21-cv-02155-YGR            Document 630-1          Filed 12/12/23       Page 2 of 3




 1          I, Elizabeth C. Pritzker, declare and state as follows:
 2          1.       I am an attorney duly admitted to practice before this Court and a partner of Pritzker
 3 Levine LLP, one of law firms representing plaintiffs in this matter. On August 3, 2021, I was

 4 appointed to serve as Interim Class Counsel for plaintiffs. ECF No. 77.

 5          2.       Pursuant to Civil Local Rules 7-3 and 7-11, I submit this declaration in support of
 6 plaintiffs’ motion for leave to file a response to defendant Google LLC’s Objections to Plaintiffs’

 7 Evidence in Support of Class Certification Reply Briefing (ECF No. 628), in which Google (i) seeks

 8 to strike large portions or all of four of plaintiffs’ class certification rebuttal expert reports, and (ii) to

 9 supplement the record by submitting additional deposition testimony from two Google corporate

10 witnesses and one of plaintiffs’ experts on the grounds that what plaintiffs submitted is somehow

11 incomplete.

12          3.       I have personal knowledge of the facts stated herein and, if called upon to do so, could
13 and would testify competently thereto.

14          4.       On Friday, December 8, 2023, plaintiffs’ counsel informed Google’s counsel that
15 plaintiffs would be filing this motion for leave and asked Google to provide plaintiffs with its position

16 on the motion by noon on Monday, December 11, 2023. Google asked for more information as to

17 the basis for the motion on Monday morning, to which plaintiffs promptly responded. Google then

18 requested times for a meet and confer the following day to discuss further before providing a simple
19 response as to whether Google would oppose the motion or not. Plaintiffs invited a prompt meet and

20 confer on Monday afternoon to avoid any delay in the filing of this motion, to which Google did not

21 respond. Plaintiffs reached out again on Tuesday morning, December 12, 2023 and again invited a

22 prompt meet and confer. As of the filing of this motion at noon on Tuesday, December 12, 2023,

23 Google has not responded further or provided its position with respect to this motion.

24          5.       Attached hereto as Exhibit A is plaintiffs’ proposed response to Google’s evidentiary
25 objections if the Court grants plaintiffs leave to file a response.

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                                                       GOOGLE’S EVIDENTIARY OBJECTIONS
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 1         I declare under penalty of perjury under the laws of the United States of America that the

 2 foregoing is true and correct. Executed on this 12th day of December in Emeryville, California.

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                                                       /s/ Elizabeth C. Pritzker
 4                                                     Elizabeth C. Pritzker
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